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     IN THE UNITED STATED DISTMCT COURT FOR THE
                                DISTmCT OF AMZONA



                                                        CASE NUMBER: 04:24-bk-05605-BMW


     INRE:ANTHONYLEOMONTEZESTATE                                         CHAPTER 11
     Debtor-in-possession, et al.



      EMERGENCE MOTION FOR STAY PENDING APPEAL TO PROTECT
            PROPERTY RIGHTS AND ENSURE DUE PROCESS


    INTRODUCTION:
    Comes now, Anthony Leo Montez, as sole proprietor and debtor-in-possession, to respectfully
    present thisMotion for a StayPendingAppeal, seekingto protect myproperty and
    constitutional rights during the appeal ofthe Bankruptcy Court's dismissal order, currently
    underreviewbythis Honorable Court.


    GROUNDS FOR STAY PENDING APPEAL:
    Irreparable Harm:
    Withouta stay, I faceimminent riskoflosingmyproperty andvaluable assets,whichare
    integral to my livelihood and the sole purpose fonnifiating this bankruptcy proceeding.
    Dismissal ofmy Chapter 11 case withoufproper legal process or respect for my constitutional
    rights leaves me exposed to immediate creditor actions, placing my property at grave risk. The
    Supreme Court has held that property rights are protected by due process, and ho deprivation
    can occurwithout fair hearing (see Mullane v. Central Hanover Bank & Trust Co., 33~9 U. S.
    306 (1950)).
    E]£eliKoo3-ofSuccess~dnTITe-Ments:
    My appeal raises fundamental issues ofstatutory interpretation and constitutional law,
                  Sankmptcy Courts failure to provide a lawful basis for requiring legal
    representation in a soleproprietorship Chapter 11 case;As I am the sole owner, I retain the
    rightto self-representatfon, a rightunchallenged in applicable statutes. Additionally, my prior
    Notice of Removal to the District Court, requesting anArticle III court review for non-core
    issues, remains unaddressed, violating principles ofjurisdiction. These issues support a
    strong likelihood ofsuccess on appeal.


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 Public Interest:
 Granting a stayserves thepublic interest byensuring that constitutional rights to dueprocess
                                                                                         recess
                                                                                          .




 are preserved and that lower courts adhere toprocedural safeguards. This appeal challenges
 whether anindividual sole proprietor can be deprived ofthe right to self-represent in a case
 involving private property and .livelihood, matters ofsignificant public concern andlegal
 precedent
 BalanceofHardships:
 Thebalanceofhardshipsweighsheavilyin favor ofgrantingthe stay. Thecreditor(s) will face
 no significant prejudice by a temporary delay, while I risk tEe permanent and irreversible loss
                ' without a stay. Theintegrity ofthis proceeding, andmy rights, must be
 protected until a final ruling on appeal."



 RE UEST FORWAIVEROF BOND RE UIREMENT:

 Given the constitutional nature ofthis appeal andthe assurances previously provided by the
 Bankruptcy Court to waive certain filing fees, I respectfully request a waiver ofanybond
 requirement that might otherwise apply to a stay pending appeal. The financial burden of a
 bond would unduly restrict my ability to seekjustice in tfiis matter, and the circumstances
 here warrant relieffrom such a condition.



CONCLUSION:
ReliefPresented:

WHEREFORE, Anthony Leo Montez, respectfully requests that this Court:

    .    Grant a stay ofall proceedings, actions, and enforcement against my property pending
         the outcome ofthis appeal;
    .    Waive anybond requirement in recognition ofthe substantial constitutional and due
         process issues presented in this appeal;
    .    Provide any additional reliefasthis Honorable Court deemsjust andproper to ensure
         protection ofmy property and rights.



Respectfully presented this 12th day ofNovember, 2024.
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        LL^(v        ^<^^^
Anthony L5o         ontez
Sole Proprietor, Debtor-in-Pos


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